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IN THE CIRCUIT COURT, FOURTH a
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.: Ib- 200-€4-009620 “XXXX

 

DIVISION:

TAYLOR LAWRENCE,

Plaintiff, DIVISION CV. F
Vv.
BLUE CROSS BLUE SHIELD
OF FLORIDA HEALTH OPTIONS,

Defendant.

i]
COMPLAINT

Plaintiff, TAYLOR LAWRENCE, by and through her undersigned attomey,
hereby sues Defendant Blue Cross Blue Shield of Florida Health Options,
hereinafter referred to as “Blue Cross,” and all facts being extant and material
hereto alleges:

GENERAL ALLEGATIONS

1. This is an action for damages in excess of $15,000.00, but less

than $75,000.00, exclusive of attorneys fees and costs.

2. Plaintiff TAYLOR LAWRENCE is in all respects, sui juris.

3. Defendant, “BLUE CROSS” is a corporation authorized to do

business, and in fact doing business in Duval County, Florida.

4. Defendant “BLUE CROSS,” issued to Harold Lawrence, natural

parent of plaintiff Taylor Marie Lawrence, a group medical health

insurance policy, Contract Number XJBH97433722, with an
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effective date of October 1, 2005, under which the Plaintiff,
TAYLOR LAWRENCE, was a named insured under said contract.
A copy of such health plan is attached hereto as Exhibit “A.”

5. At all times material hereto, Plaintiff, TAYLOR LAWRENCE, was
the natural child of policy holder Harold Lawrence and was residing
in the residential home with policy holder Harold Lawrence.

6. On or about February 21, 2009, Plaintiff TAYLOR LAWRENCE was
a passenger in a vehicle owned by Shawn P. McLean and operated
with his knowledge and consent by his daughter, Lauren McLean,
on County Road 220 in Clay County, Florida.

7. At said time and place, Lauren McLean negligently operated her
vehicle such that it collided with another vehicle, resulting in
multiple injuries to Plaintiff TAYLOR LAWRENCE, including facial
and dental injuries, fractures and other orthopedic injuries.

8. As a direct and proximate result of the multiple facial fractures and
other orthopedic injuries, Plaintiff TAYLOR LAWRENCE was
transported via Rescue to Shands Jacksonville Trauma Unit where
she underwent medical treatment including multiple surgical
procedures including, but not limited to, the extraction of teeth and
the open reduction with internal wire fixation of her upper and lower
jaw bones. Plaintiff's jaws and mouth were wired shut for a period
exceeding sixty-two (62) days from the date of the incident and

injuries described above.
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9. Plaintiff subsequently sought medical treatment with Dr. Andrew
Forrest, D.M.D. in Jacksonville, Florida, who made specific
recommendations for significant medical treatment, including
replacement of teeth and bridge work.

10. Plaintiff sought coverage for the medically necessary and
recommended treatment pursuant to the policy of insurance which
provides for “health care services to treat a condition resulting from
an accident, not related to your job or employment.” The injuries
and conditions for which treatment was necessary arose out of the
February 21, 2009 automobile accident.

11. Defendant “BLUE CROSS” has subsequently denied coverage
and/or payment for such recommended treatment on the basis that
such treatment was not presented within sixty-two (62) days of the
occurrence of an accidental dental injury.

12. Plaintiff has followed the appeals process under her policy and
appeals have been denied.

13. All conditions precedent to this action have either been satisfied or
waived.

14. Plaintiff TAYLOR LAWRENCE has been forced to retain the
services of the undersigned counsel in order to prosecute this claim

and is obligated to pay reasonable attorneys fees on a contingency

fee basis.

BREACH OF CONTRACT
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Plaintiff, TAYLOR LAWRENCE, by and through her undersigned counsel,
hereby adopts, realleges and reaffirms each and every allegation contained in
paragraph 1 through 14 as set forth above, as though fully alleged herein and
further alleges:

15. The essential purpose of the aforementioned Contract/Policy of
Insurance was to provide or pay for essential, appropriate, timely,
ongoing health care necessitated by a serious iliness or injuries of
the insured persons, including Plaintiff, TAYLOR LAWRENCE. A
further essential purpose of such aforementioned contract was to
provide peace of mind to such insured persons, such as Plaintiff
TAYLOR LAWRENCE that such benefits would be reasonably
provided in order to maximize recovery from illness or injury.

16. The aforesaid acts and/or omissions of the Defendant "BLUE
CROSS" constitutes a breach of the aforesaid contract of health
insurance.

17. As a direct and proximate result of the breach of contract as set
forth above, Plaintiff TAYLOR LAWRENCE has sustained

reasonably foreseeable, consequential and incidental damages,

including, but not limited to:

a. Physical impairment as a result of delay, denial of medical
care;
b. Delay and/or limitation of recuperation and/or worsening of

medical condition,
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c. Physical and mental pain and suffering;
d. Cost of medical care in the past and into the future.
WHEREFORE, the above premises considered, TAYLOR LAWRENCE
demands judgment for breach of contract damages in excess of $15,000.00
against Defendant “BLUE CROSS," plus interest on all liquidated sums, costs
and attorneys fees pursuant to F.S. §627.428 and 627.6698, and demands trial
by jury of all issues so triable.

Respectfully submitted,

 

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